Case: 1:13-cv-04121 Document #: 10-4 Filed: 07/02/13 Page 1 of 7 PagelD #:106 2)
WILL COUNTY ADULT DETENTION FACILITY
INMATE REQUEST FORM 22

  

NAME: \ CIMIS:_| DATE: POD: CELL:

Last Name, First Name, Middle Initial
(1) PRINT ALL INFORMATION
(2) PROVIDE AS MUCH INFORMATION AS POSSIBLE. IF NECESSARY, USE BLANKS.
(3) CHECK THE (_ ) ITEM YOU ARE REQUESTING FOR INFORMATION
(4) FILL OUT ONLY ONE (1) FORM PER REQUEST.
(5) KEEP THE PINK COPY AND PLACE THE WHITE AND YELLOW COPIES IN THE BOX ON THE OFFICER’S DESK.

CONTACT POD DEPUTIES FIRST FOR ALL POD-RELATED QUESTIONS.

( ) CLASSIFICATION SECTION
( ) REQUEST FOR INMATE WORKER STATUS (check all that apply): ( ) TENDER ( ) PODWORKER
( ) REQUEST FOR RECLASSIFICATION (EXPLAIN WHY IN THE SPACE BELOW)
( ) REQUEST TO SEE CLASSIFICATION OFFICER (EXPLAIN WHY IN THE SPACE BELOW)

( ) REQUEST TO SEE A POLICE INVESTIGATOR
POLICE AGENCY: INVESTIGATOR’S NAME:

 

( ) ADMINISTRATIVE SECTION

( ) REQUEST FOR INFORMATION

{ )COURT DATE ( )WRITS (+ )HOLDS (¢ .)MAIL ( )TRUSTACCOUNT

) VISITING LIST CHANGE (_ ) REQUEST SPECIAL VISIT
) PHONE-CALL LIST CHANGE
) LAUNDRY
) PROPERTY
) FOOD SERVICE SECTION
) COMMISSARY SECTION
) REQUEST TO USE LAW LIBRARY (NOTE: POD OFFICERS SCHEDULE USE)
) COMPLAINT ABOUT TREATMENT / GRIEVANCES

( ) APPEAL OF GRIEVANCE

( ) APPEAL OF DISCIPLINARY BOARD HEARING
(,/) OTHER, AS EXPLAINED BELOW.

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USE SPACE BELOW TO EXPLAIN YOUR REQUESTS. ATTACH PAPER IF NECESSARY.

 

 

 

 

 

 

INMATE’S SIGNATURE_|_\ CIMIS NUMBER:

 

#4*ST AFF RESPONSE***#*

 

 

 

 

 

 

 

 

 

 

 

 

SIGNATURES es Ns ey
REVIEWED BY POD OFFICER SIGNATURE: BDLLA # Ot] DATE: 7(/A//
STAFF SIGNATURE: # DATE:
SERGEANT/AREA SUPERVISOR: v4 #7 DATE:
LIEUTENANT/WATCH COMMANDER‘ # DATE:_‘
WARDEN/DEPUTY CHIEF ‘ # DATE:

 

PINK COPY: INMATE RETAINS WHITE COPY: SEND TO CLASSIFICATION YELLOW COPY: RETURN TO INMATE

 
Case: 1:13-cv-04121 Docume #4tht Filed: 07/02/13 Page 2 of 7 PagelD #:106

 

On 4TH, TL requested @ response bach fromthe deouty chiek trough a lnavate. Request,
Stating
1 got @ response back on a appeal oF qrievanee T fled: but deputy citer Tink says on
the response. Form that he didn't get the paperwork D putin (report number 13- wl).
But L did receive 3 response trom Sat Perillo. Ln ashing that my appea| ot QP Ouai ee
report get to ine deputy chief as soon as possible please. 1 Sar Perillo gave 2
RESpONGE Six days avter the deputy chiet saus he didn’ get the paperuock y why
didass depviy ceel Fink receive a Copy § Lim also asking to get 4 respov'se trom the
dent chien,
ms

y
ee

On 4122.113, a response was gerd to mesigned by Deputy Chief Fink stating:

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° £ nv dey | . er o \ ey
Since Your wna grievance 4 nave reviewed Your paperworh. tind no Wing
doing by stati alter reviewing, reviewing cefling canera and repsrts, Sats Perio
disp inestiaeted.
a
(See exhibit D-)

 
Case: 1:13-cv-04121 Document #: 10-4 Filed: 07/02/13 Page 3 of 7 PagelD #:106

 

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out chief

RXR

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INMATE’S SIGNATURE pt CIMIS NUMBER:
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LIEUTENANT/WATCH COMMANDER: ___ a spor a # DATE:
WARDEN/DEPUTY CHIEF Deo CHET Ji) # IGG, DATE: 49

 

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Case: 1:13-cv-04121 Docurfery#hip- Meiled: 07/02/13 Page 4 of 7 PagelD #:106

 

On 4118113) T filed a complaint about treatment / grievance and wirote te following:

Wve writen ori evances on He disre CO EC t And in; ope oe iaie Comments tom! ne Hen
Ye depuries aia ERTS “ve. mention oy 8 mn MU S¢kudi assault | harasement complatrit
On numerous Oecassions dnd nothin ng [5 being dane about if, all of my grievance
responses: fither saj no harassment occured or qrtevanee ittounded, Since nothing is
being done, 1 Hugi | vie. writ ing qriey vances and there's no plier ior me toturn to, Lm

to the Point now th ay L will no longer Anierate disrespect or Narassment trom the.
deputies or EATS L mentored in my complaint. Lve did all rere is 4o do, write
Sfevanees evequesy to speak with } ite ranting depultes ete. Noting is $ being
dove; lve even requested to be hept aNBy ti {rom fe ne and ERTS ; but being

ignored is, whats | napoeni ng tome. So ihe. sa id, Lufil ne longer doleraie dt isrespec}
or harasswerts

Ua “wor ene, Vv rate boc al vearael | nm ey e
Un HQ 0a a response. wes sent bark tome signed by oat Hlexander stating:

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we
: bem h Pala of ‘ oy
Yor an) Violations ef rides you make and will be dealt with accordinaly,
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om Ry approxi vate iy LOO pm on todatis ays date while dupaty Ny  Yuhas twas here Just reluming
fron hi his break j ERT Bostiancic came to P' sku a veleacee

“Was standing wn mi ce Wai ine ‘muah y depui Hy Yuhas pow

ie | ERY See cic looked at at Ty. and | oalitd his hards Wide piek And rubbed
tues as he were erufaa av

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= wa and § sald." boo-p vl yt roucned jen Y00S , noord

 

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